            Case 2:19-cr-00104-WFN        ECF No. 94        filed 06/24/22      PageID.299 Page 1 of 2
 PROB 12C                                                                                Report Date: June 24, 2022
(6/16)

                                       United States District Court
                                                                                                      FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT OF WASHINGTON
                                                       for the

                                        Eastern District of Washington                       Jun 24, 2022
                                                                                                 SEAN F. MCAVOY, CLERK

                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Joseph Emery Malo, III                    Case Number: 0980 2:19CR00104-WFN-1
 Address of Offender:                         Spokane, Washington 99202
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: January 22, 2020
 Original Offense:          Failure to Register as a Sex Offender, 18 U.S.C. § 2250(a)
 Original Sentence:         Probation - 60 Months            Type of Supervision: Supervised Release

 Revocation Sentence:       Prison - 2 Months;
 (December 14, 2021)        TSR - 34 Months
 Asst. U.S. Attorney:       Ann Wick                         Date Supervision Commenced: December 29, 2021
 Defense Attorney:          Christina Wong                  Date Supervision Expires: October 28, 2024


                                          PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 06/03/2022, 06/17/2022 and 06/23/2022.

On December 29, 2021, Mr. Malo signed his conditions relative to case number 2:19CR00104-WFN-1, indicating
he understood all conditions as ordered by the Court. Specifically, Mr. Malo was advised that he was to refrain from
any unlawful use of a controlled substance.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

              4         Mandatory Condition # 3: You must refrain from any unlawful use of a controlled
                        substance. You must submit to one drug test within 15 days of release from imprisonment
                        and at least two periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: Mr. Joseph Malo is alleged to have violated mandatory condition
                        number 3 by ingesting methamphetamine on or about June 13, 2022, based on urinalysis
                        testing.

                        Specifically, on June 13, 2022, Mr. Malo reported to the contract provider in Spokane for
                        random urinalysis testing following his assigned color being called by the provider. Mr. Malo
                        subsequently submitted a presumptive positive urinalysis sample for both amphetamine and
                        methamphetamine. On June 14, 2022, a drug use denial form was received from the provider
                        in which the client signed his name and checked the box denying any use of illicit substances
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                      as indicated by the test.

                      On June 24, 2022, the lab report specific to the client’s submitted urinalysis test on June 13,
                      2022, was received by the undersigned officer in which the sample was confirmed to be
                      positive for both amphetamine and methamphetamine.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this
petition in future proceedings with the violation(s) previously reported to the Court.

                                           I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     June 24, 2022
                                                                             s/ Chris Heinen
                                                                             Chris Heinen
                                                                             U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                             Signature of Judicial Officer

                                                                                  6/24/2022
                                                                             Date
